Case 1:14-cv-03073-RBJ Document 44 Filed 07/15/16 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-03073-RBJ-CBS

JACK BAHR, Individually and On Behalf of All Others Similarly Situated,

       Plaintiff,

v.

MESA PRODUCTION, LLC,
SCOTT HUSKEY, and
CHARLIE SCHMIDT,

       Defendants.


                                STIPULATION OF DISMISSAL


       Pursuant to Fed. R.Civ. P. 41(a)(1)(A)(ii), Plaintiff Jack Bahr, individually and on behalf

of all others similarly situated, and Defendants Mesa Production LLC, Scott Huskey, and Charlie

Schmidt hereby stipulate and agree that they have resolved all claims asserted in this case and

that this action should be dismissed, with prejudice, each party to pay his or its costs and with

attorneys’ fees to be paid in accordance with the parties’ agreement.
Case 1:14-cv-03073-RBJ Document 44 Filed 07/15/16 USDC Colorado Page 2 of 2




      Dated: July 15, 2016.



                                      s/ Galvin B. Kennedy
                                     Galvin B. Kennedy
                                     Udyogi Apeksha Hangawatte
                                     Kennedy Hodges, L.L.P.
                                     711 W. Alabama Street
                                     Houston, TX 77006
                                     Telephone: (713) 523-0001
                                     Facsimile: (713) 523-1116
                                     Email: gkennedy@kennedyhodges.com
                                            uhangawatte@kennedyhodges.com

                                     Attorneys for Plaintiff Jack Bahr




                                      s/ Brett C. Painter
                                     Brett C. Painter
                                     Nathalie A. Bleuzé
                                     DAVIS GRAHAM & STUBBS LLP
                                     1550 Seventeenth St., Suite 500
                                     Denver, Colorado 80202
                                     Telephone: (303) 892-9400
                                     Facsimile: (303) 893-1379
                                     Email: brett.painter@dgslaw.com
                                            nathalie.bleuze@dgslaw.com

                                     Attorneys for Defendants
                                     Mesa Production, LLC, Scott Huskey, and
                                     Charlie Schmidt




                                     2
